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SIDLEY AUSTIN LLP
Thomas R. Califano (10369867)
Charles M. Persons (24060413)
Jeri Leigh Miller (24102176)
Maegan Quejada (24105999)
Juliana L. Hoffman (24106103)
2021 McKinney Ave
Suite 2000
Dallas, Texas 75201
Telephone: (214) 981-3300
Facsimile: (214) 981-3400

Counsel for the Debtors and
Debtors in Possession

                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION


    In re:                                                              Chapter 11

    GVS TEXAS HOLDINGS I, LLC, et al.1                                  Case No. 21-31121-MVL

                               Debtors.                                 (Jointly Administered)



                     NOTICE OF SALE CLOSING AND OCCURRENCE OF
                   EFFECTIVE DATE OF THE FOURTH AMENDED PLAN OF
                    REORGANIZATION OF GVS TEXAS HOLDINGS I, LLC
                             AND ITS DEBTOR AFFILIATES

        PLEASE TAKE NOTICE that (i) the sale of substantially all of the assets of the debtors
and debtors in possession in the above-caption cases (the “Sale”) was approved on March 16, 2022,
and (ii) the Fourth Amended Plan of Reorganization of GVS Texas Holdings I, LLC and its Debtor
Affiliates [Docket No. 618] (the “Plan”)2 was confirmed pursuant to the Order Confirming



1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: GVS Texas Holdings I, LLC (7458); GVS Texas Holdings II, LLC (1225); GVS
Portfolio I, LLC (6441); GVS Portfolio I B, LLC (7171); GVS Portfolio I C, LLC (3093); WC Mississippi Storage
Portfolio I, LLC (0423); GVS Nevada Holdings I, LLC (4849); GVS Ohio Holdings I, LLC (6449); GVS Missouri
Holdings I, LLC (5452); GVS New York Holdings I, LLC (5858); GVS Indiana Holdings I, LLC (3929); GVS
Tennessee Holdings I, LLC (5909); GVS Ohio Holdings II, LLC (2376); GVS Illinois Holdings I, LLC (9944); and
GVS Colorado Holdings I, LLC (0408). The location of the Debtors’ service address is: 814 Lavaca Street, Austin,
Texas 78701.
2
    Capitalized terms used but not defined herein shall have the meaning ascribed to such terms in the Plan.
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Debtors’ Fourth Amended Plan of Reorganization of GVS Texas Holdings I, LLC and its Debtor
Affiliates [Docket No. 873] (the “Confirmation Order”).

       PLEASE TAKE FURTHER NOTICE that the Sale Closing and Effective Date of the
Plan occurred on March 22, 2022.

        PLEASE TAKE FURTHER NOTICE that in accordance with the Confirmation Order
and Section II.A of the Plan, all Professionals or other entities requesting compensation or
reimbursement of expenses pursuant to sections 327, 328, 330, 331, 503(b) and/or section 1103 of
the Bankruptcy Code for services rendered before the Effective Date (including, without
limitation, any compensation requested by any Professional or any other entity for making a
substantial contribution in the Chapter 11 Case) shall file and serve final requests for payment of
Professional Claims no later than May 6, 2022. Such final requests for payment of Professional
Claims must be served on the Reorganized Debtor, such other notice parties designated in the
Order Establishing Procedures for Interim Compensation and Reimbursement of Expenses of
Retained Professionals [Docket No. 161], and any other Entity designated by the Bankruptcy
Rules. Objections to any Professional Fee Claim must be filed and served on the Reorganized
Debtor and the applicable Professional within twenty-one (21) days after the filing of the final
fee application with respect to the Professional Claim. Any such objections that are not
consensually resolved may be set for hearing on fourteen (14) days’ notice by the Professional
asserting such Professional Claim.

         PLEASE TAKE FURTHER NOTICE that, in accordance with the Confirmation Order
and Section V.B of the Plan, any Proof of Claim for damages arising out of the rejection of any
executory contract or unexpired lease must be filed with the Reorganized Debtors’ notice and
claims agent, Omni Agent Solutions within the later of (i) thirty (30) days after the date of
entry of an order of the Court (including the Confirmation Order) approving such rejection;
(ii) thirty (30) days after the effective date of such rejection; or (iii) April 21, 2022; subject to
extensions by further Court order. Proofs of Claim may be mailed to the following address: GVS
Texas Holdings I, LLC, et al. Claims Processing, c/o Omni Agent Solutions, 5955 De Soto Ave.,
Suite 100, Woodland Hills, CA 91367. Proofs of claim may also be submitted online through the
case website at: http://www.omniagentsolutions.com/GVS and click on “Claim” then “Submit a
Claim”. Proofs of Claim sent by electronic means, including facsimile or e-mail transmission,
will NOT be accepted, with the exception of Proofs of Claim submitted through the case
website. Any Claim arising from the rejection or repudiation of an Executory Contract or
Unexpired Lease for which a Proof of Claim is not timely Filed shall not be Allowed, shall be
forever barred from assertion, and shall not be enforceable against the Debtors, the
Reorganized Debtors, the Estates, or property of the foregoing parties, without the need for
any objection by the Debtors or further notice to, or action, order, or approval of the
Bankruptcy Court or any other Entity.

       PLEASE TAKE FURTHER NOTICE that, as of the Effective Date and subject to the
terms of the Confirmation Order, all provisions of the Plan, including all agreements, instruments
and other documents filed in connection with the Plan and executed by the Debtors or the
Reorganized Debtors in connection with the Plan, are binding on the Debtors, the Reorganized


                                                 2
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Debtors, all Holders of Claims against and Interests in the Debtors and such Holder’s respective
successors and assigns, and all other parties that are affected in any manner by the Plan.




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 Dated: March 22, 2022                       Respectfully submitted,
        Dallas, Texas
                                             SIDLEY AUSTIN LLP
                                             /s/ Thomas R. Califano
                                             Thomas R. Califano (10369867)
                                             Charles M. Persons (24060413)
                                             Jeri Leigh Miller (24102176)
                                             Maegan Quejada (24105999)
                                             Juliana L. Hoffman (24106103)
                                             2021 McKinney Avenue
                                             Suite 2000
                                             Dallas, Texas 75201
                                             Telephone: (214) 981-3300
                                             Facsimile: (214) 981-3400

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